8:11-cr-00287-RFR-MDN           Doc # 258      Filed: 01/16/14   Page 1 of 1 - Page ID # 791




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                      Plaintiffs,                                   8:11CR287

       vs.
                                                                      ORDER
THOMAS E. JOHNSON,

                      Defendant.


       This matter is before the Court on the Defendant’s pro se motion for copies (Filing No.
257). Specifically, he requests a copy of his Plea Agreement. Pursuant to the Court’s previous
order (Filing No. 247), the Defendant must request such copies from his attorney.
       IT IS ORDERED:
       1.     The Defendant’s Motion for Copies (Filing No.257) is denied.
       2.     The Clerk is directed to mail a copy of this order to the Defendant at his last
known address.


       Dated this 16th day of January, 2014.

                                                    BY THE COURT:
                                                    s/ F.A. Gossett, III
                                                    United States Magistrate Judge
